Case: 4:22-cv-00191-MTS Doc. #: 19-33 Filed: 03/15/22 Page: 1 of 4 PageID #: 971




                                Declaration of Alison Bechdel
                                (Pursuant to 28 U.S.C. § 1746)

      I, Alison Bechdel, hereby declare and state as follows:

   1. I am over the age of 18 and a resident of Chittenden County, Vermont. I have personal

      knowledge of the facts set forth in this declaration and could and would testify

      competently to those facts if called as a witness.

   2. I am a white, cisgender lesbian. My pronouns are she/her.

   3. I’ve been a cartoonist for the past forty years. For twenty-five years, until 2008, I wrote

      and drew a comic strip called Dykes to Watch Out For. I have authored three memoirs in

      comics format: Fun Home; A Family Tragicomic (2006); Are You My Mother? A Comic

      Drama (2012); and The Secret to Superhuman Strength (2020).

   4. My books have won numerous Lambda Literary Awards, which recognize LGBTQ

      authors. Among numerous other awards, I have been inducted into both the Eisner Hall of

      Fame and the Harvey Hall of Fame--institutions honoring individuals in the field of

      comics. I have also received a Guggenheim Fellowship (2012) and a Macarthur

      Fellowship (2014). From 2017-2020 I served as the Cartoonist Laureate of the State of

      Vermont.

   5. Fun Home; A Family Tragicomic was published in May, 2006 by Houghton Mifflin.

   6. Fun Home is a memoir about growing up with my father, a high school English teacher

      and a funeral director. When I came out to my family as a lesbian in college, I learned

      that my father, too, was gay. After a brief period of trying to process this new information

      and to connect with my father around our shared experience, he was killed in an accident

      that my family interpreted as a suicide. The memoir explores my father’s past and my

      own childhood as I come to terms with the way we both grew up gay in the same small




                                                                                    Exhibit 40
Case: 4:22-cv-00191-MTS Doc. #: 19-33 Filed: 03/15/22 Page: 2 of 4 PageID #: 972




      town, yet experienced very different outcomes to our lives. Much of the book is about

      literature, and the way various books were a form of connection between my father and

      me.

   7. Fun Home; A Family Tragicomic, was named Best Book of the Year by Time Magazine

      in 2006. Entertainment Weekly named it the number one Nonfiction Book of the Year. It

      made many other best of the year and best of the decade lists. A musical based on Fun

      Home, written by Lisa Kron and Jeanine Tesori, opened at The Public Theater in New

      York City in October, 2013 and moved to Broadway in April, 2015. It won five Tony

      Awards, including Best Musical, Best Book of a Musical (Lisa Kron) and Best Original

      Score (Jeanine Tesori and Lisa Kron—the first time an all-female team won a Tony for a

      musical’s score.) Fun Home was a finalist for the National Book Critics Circle Award. It

      was nominated for three Eisner awards, and won the Eisner for Best Reality-Based Work.

      Fun Home also won the American Library Association’s Stonewall Award, the

      Publishing Triangle’s Judy Grahn Nonfiction Award, and a Lambda Book Award. It has

      been translated into 25 languages. Fun Home has been the subject of numerous academic

      papers and articles, including the book Approaches to Teaching Bechdel’s Fun Home

      (2018), published by the Modern Language Association of America.

   8. The book is a look at the actual toll homophobia takes on the life of a real family. It’s

      also about the power of family secrets to harm relationships and perpetuate psychic

      damage.

   9. I felt like I had a unique perspective on the fear and secrecy that my father lived with as a

      gay (or bisexual) man, since I too was gay. But unlike my father, I had the benefit of




                                                2

                                                                                    Exhibit 40
Case: 4:22-cv-00191-MTS Doc. #: 19-33 Filed: 03/15/22 Page: 3 of 4 PageID #: 973




      coming of age after the liberation movements of the 1960s and 1970s which did so much

      to change cultural attitudes about homosexuality.

   10. This book was very important for me to write. My father’s death was a hugely formative

      experience for me, making me determined to not just live my life openly as a lesbian, but

      to write about that life in an honest and forthright manner in my work. My hope was that

      my cartoons would demonstrate the humanity of LGBTQ people—both to themselves,

      and to the world.

   11. Much of the book is about my childhood and young adulthood, so it’s very relatable to

      students of high school age who are going through similar experiences as they learn about

      themselves, their parents, and their place in the world. I think the book is also a useful

      history lesson as it shows shifting attitudes to homosexuality over time. While it was

      much easier for me to come out in 1980 than it was for my father in the 1950s, attitudes

      toward sexual difference were much more negative in the 1980s than they are now.

      Nonetheless, there are many areas where homophobia still prevails, and for students in

      those places the book educates about prejudice and discrimination, and for LGBTQ

      students in particular it offers solidarity.

   12. Fun Home is a coming of age story. It’s very much about books, reading, and literature,

      since that was the one way that my father I were able to connect. The book is in comics

      format, and is often used in classroom settings as an introduction to the techniques of

      graphic narrative/visual storytelling. The fact that the book is a memoir, a true story, is a

      large part of its value—the whole point is that it really happened, and the consequences

      suffered by the characters are real. I think that my honest approaches to sexuality and




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                                                                                     Exhibit 40
Case: 4:22-cv-00191-MTS Doc. #: 19-33 Filed: 03/15/22 Page: 4 of 4 PageID #: 974




       death in the book—approaches that most of us are expressly trained not to make—give

       the story its resonance and enable many different kinds of people to find meaning in it.

   13. I can’t even begin to estimate how many letters I’ve received from readers telling me

       what a powerful experience reading Fun Home was for them. When the book first came

       out in 2006, the letters were from adults. But over the years they began coming from

       younger and younger readers, many of whom encountered it in school. (Or after having

       seen the Broadway musical version.) Some of my favorite letters are from parents who

       valued the experience of sharing the book with their child, and from kids who shared it

       with their parents. The book has clearly been a way for different generations to connect in

       a way that my father and I were unable to. I should also say that many of the responses I

       get from readers have nothing to do with the theme of sexuality, but are about the

       experience of family secrets in general. These people write about the catharsis of reading

       a story in which a family secret is stripped of its power by someone confronting the truth

       behind it.




I declare under penalty of perjury that the foregoing is true and correct.

Executed on __________, 2022.                         ________________________
                                                      Alison Bechdel
                                                      Jericho, VT




                                                  4

                                                                                   Exhibit 40
